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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



William DuBuske, Michael Duchaine, and Gary              Civil Action No.: 18-cv-11618
Maynard, on behalf of themselves and all others
similarly situated,

                       Plaintiffs,

              vs.

PepsiCo, Inc., the Employee Benefits Board, the
PepsiCo Administration Committee, and                    CLASS ACTION
John/Jane Does 1-50

                       Defendant.


                                           COMPLAINT

       Plaintiffs William DuBuske, Michael Duchaine and Gary Maynard, by and through their

attorneys, on behalf of themselves and all others similarly situated, based on personal knowledge

with respect to their own circumstances and based upon information and belief pursuant to the

investigation of their counsel as to all other allegations, allege the following.

                                        INTRODUCTION

       1.      This is a class action against Defendant PepsiCo, Inc. (“Pepsi”) and the fiduciaries

responsible for management of the PepsiCo Salaried Employees Retirement Plan (the “Plan”)

(collectively, “Defendants”) concerning the failure to pay benefits under the Plan that are

actuarially equivalent to a single life annuity for the life of the plan participant, as required by

Section 205 of the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C.

§ 1055. By not offering actuarially equivalent pension benefits, Defendants are causing retirees

to lose part of their vested retirement benefits in violation of ERISA § 203(a), 29 U.S.C. § 1053(a).
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       2.      Under the Plan, workers accrue retirement benefits in the form of a single life

annuity (“SLA”), a payment stream that starts when they retire and ends when they die. The

amount of the SLA is based on their wages and years of service with Pepsi, not current life

expectancies or interest rates.

       3.      ERISA requires that pension plans offer married retirees the option of receiving a

payment stream for their life and their spouse’s life after the retiree dies (a “joint and survivor

annuity”). ERISA § 205(d), 29 U.S.C. § 1055. A joint and survivor annuity is expressed as a

percentage of the benefit paid during the retiree’s life. For example, a 50% joint and survivor

annuity provides a surviving spouse with 50% of the amount that was paid during the retiree’s life.

Pepsi offers 50%, 75% and 100% joint and survivor annuities.

       4.      When retirees choose a joint and survivor annuity, they receive lower monthly

pension payments than they would if they chose a SLA in exchange for their spouses receiving

payments after their deaths. ERISA requires that joint and survivor annuities be “actuarially

equivalent” to an SLA, ERISA §§ 205(d)(1)(B) and (2)(A)(ii), 29 U.S.C. §§ 1055(d)(1)(B) and

(2)(A)(ii), meaning that the present value of the payment streams must be the same.

       5.      Actuarial assumptions are applied to calculate the present value of the future

payments of a joint and survivor annuity. These assumptions are based on a set of mortality tables

and long-term interest rates. The present values of the joint and survivor annuities must equal the

present value of the SLA in order to establish actuarial equivalence between the two forms of

benefit payment streams.

       6.      Mortality rates have improved over time with advances in medicine and better

collective lifestyle habits. People who are retiring now are expected to live longer than those who

retired in previous generations. Older morality tables predict that people will die at a faster rate




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than current mortality tables. Using an older mortality table with accelerated mortality rates

decreases the present value of the joint and survivor annuity and, ultimately, the monthly payment

that retirees receive under a joint and survivor annuity.

        7.      The mortality rate and the interest rate collectively affect whether an optional

benefit is actuarially equivalent to a SLA. Specifically, pension plans traditionally use the

mortality rate and interest rate together to calculate a “conversion factor” which is used to

determine an equivalent benefit between the default SLA and the joint and survivor annuity

selected by a retiree.

        8.      Pepsi sponsors the Plan for its eligible employees and the eligible employees of

certain subsidiaries and affiliates. Under the terms of the Plan, Pepsi promises Plan participants a

retirement income that is based on their income and length of service.

        9.      The Plan offers alternate optional benefits (such as joint and survivor annuities) to

participants.   However, in violation of ERISA, the annuities provided to retirees and their

beneficiaries who elect several of these alternate benefits are not actuarially equivalent to the SLA

owed to the retiree. Rather than using reasonable interest and mortality rates to set the conversion

factor, the Plan instead sets a conversion factor for each category of joint and survivor annuity that

is lower than the conversion factor that would be generated using reasonable market mortality

tables and interest rates.

        10.     Accordingly, the unreasonable joint and survivor annuity conversion factors used

by the Plan result in pension payments that are not actuarially equivalent to a retiree’s SLA, but

instead are materially lower than the actuarially equivalent benefits that retirees and their

beneficiaries would receive if the conversion factors were calculated pursuant to reasonable market

mortality tables and interest rates.




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       11.     Plaintiffs accordingly seek an order from the Court reforming the Plan to conform

to ERISA, payment of future benefits in accordance with the reformed Plan as required under

ERISA, payment of amounts improperly withheld, and such other relief as the Court determines

to be just and equitable.

                                 JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of the

Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq. (“ERISA”).

       13.     This Court has personal jurisdiction over the Defendant because it is headquartered

and transact business in, or resides in, and has significant contacts with, this District, and because

ERISA provides for nationwide service of process.

       14.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendant resides and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Defendant does business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.

                                             PARTIES

       Plaintiffs

       15.     Plaintiff William DuBuske is a resident of Ford, New Jersey and a Participant in

the Plan with a joint and survivor annuity. Mr. DuBuske worked for Pepsi’s Tropicana division

(which participates in the Plan), and for Tropicana prior to Pepsi’s acquisition thereof, for




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approximately 35 years, until October 2018. Under the terms of the Plan, Mr. DuBuske and his

ex-wife are beneficiaries of a joint and survivor annuity.

       16.     Plaintiff Michael Duchaine is a resident of Lacey, Washington and a Participant in

the Plan. Mr. Duchaine worked for Pepsi’s Frito-Lay division (which participates in the Plan)

from 2004 through 2014. Under the terms of the Plan, Mr. Duchaine and his spouse have elected

and are receiving a joint and survivor annuity.

       17.     Plaintiff Gary Maynard is a resident of Jonesboro, Arkansas, and a Participant in

the Plan. Mr. Maynard worked for Pepsi’s Frito-Lay division (which participates in the Plan) from

2002 through 2014. Under the terms of the Plan, Mr. Maynard and his spouse have elected and

are receiving a joint and survivor annuity.

       Defendants

       18.     Defendant PepsiCo, Inc. (“Pepsi”) is an American multinational food, snack and

beverage corporation with its principle place of business in Harrison, New York. Pepsi is the

sponsor the Plan.

       19.     The PepsiCo Administration Committee (“PAC”) is the committee that has

fiduciary responsibility for the administration and operation of the Plan as set forth in the Plan

document. The Plan names the PAC as the Administrator of the Plan. The PAC is a named

fiduciary of the Plan.

       20.     Defendant Employee Benefits Board (the “EBB”) is a committee appointed by the

Audit Committee of Pepsi’s Board of Directors that has fiduciary responsibility to appoint the

members of and monitor the actions of, inter alia, the PAC.




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       21.     John/Jane Does 1 through 50, inclusive, are the individual members of the PAC,

EBB or any other committee(s) responsible for administering the Plan. Their names and identities

are not currently known.

       22.     The PAC, EBB and their members are fiduciaries for the Plan within the meaning

of ERISA § 3(21(A), 29 U.S.C. § 1002(21)(A), because they exercise discretionary authority or

control respecting the management of the Plan and authority or control respecting the management

or disposition of Plan assets.

                           APPLICABLE ERISA REQUIREMENTS

      23.      ERISA requires that benefits from a defined benefit plan be paid in the form of a

qualified joint and survivor annuity (a “QJSA”) unless the participant, with the consent of his or

her spouse (if applicable), elects an alternative form of payment, making the QJSA the default

benefit under an ERISA plan for employees who are married. ERISA § 205(a) and (b), 29 U.S.C.

§ 1055(a) and (b).

      24.      A QJSA is an annuity for the life of the plan participant with a survivor benefit for

the life of the spouse that is not less than 50%, and not greater than 100% of the annuity payable

during the joint lives of the participant and the spouse. ERISA § 205(d)(1), 29 U.S.C. § 1055(d)(1).

For example, if a plan participant receives $1,000 per month under a 50% joint and survivor

annuity, the spouse will receive $500 a month after the participant’s death.

      25.      ERISA requires that a QJSA be the actuarial equivalent of a SLA for the life of the

participant. ERISA § 205(d)(1)(B), 29 U.S.C. § 1055(d)(1)(B). A QJSA “must be as least as

valuable as any other optional form of benefit under the plan at the same time.” 26 C.F.R. §

1.401(a)-20 Q&A 16.




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      26.        Pension plans may also offer participants alternative forms of survivor annuities,

known as qualified optional survivor annuities (“QOSA”). ERISA § 205(d)(2), 29 U.S.C. §

1055(d)(2)); see also 26 U.S.C. § 417(g). For example, a pension plan might offer a QJSA in the

form of a 50% joint and survivor annuity, while offering 75% and 100% joint and survivor

annuities as QOSAs. Other common forms of QOSAs are “certain and life” options whereby a

participant (and beneficiary) receives benefits for a specified minimum number of years, regardless

of how long the participant lives. ERISA requires that QOSAs, like QJSAs, be the actuarial

equivalent of a SLA for the life of a participant.           ERISA § 205(d)(2)(A), 29 U.S.C. §

1055(d)(2)(A).

      27.        ERISA also requires that defined benefit plans provide a qualified pre-retirement

survivor annuity (“QPSA”). ERISA § 205(a)(2), 29 U.S.C. § 1055(a)(2). A QPSA is an annuity

for the life of the participant’s surviving spouse (e.g., a beneficiary) if the participant dies before

reaching the plan’s normal retirement age. ERISA § 205(e), 29 U.S.C. § 1055(e). ERISA requires

that a QPSA be actuarially equivalent to what the surviving spouse would have received under the

plan’s QJSA and any QOSAs. Id. at § 205(e)(1)(A), 29 U.S.C. § 1055(e)(1)(A).

      28.        ERISA does not require that pension plans offer lump-sum distributions of vested

benefits to retirees upon their retirement. ERISA § 205(g), 29 U.S.C. § 1055(g). If plans offer a

lump-sum distribution as an optional benefit, Section 205(g)(3) of ERISA, 29 U.S.C. § 1055(g)(3),

requires that the interest rate and mortality table specified in annually updated Treasury regulations

be used to determine the actuarial equivalence of a lump-sum distribution of a plan’s standard

benefit.




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      29.        For QJSAs, QOSAs and QPSAs, however, while the interest rate and mortality

table specified by the Treasury regulations may be used, a plan is permitted to use alternative

actuarial assumptions, so long as they are reasonable.

      30.        The Treasury regulations for the Tax Code provision corresponding to ERISA §

205 (26 U.S.C. § 401(a)(11)) provide that a QJSA “must be at least the actuarial equivalence of

the normal form of life annuity…on the basis of consistently applied reasonable actuarial factors.”

26 C.F.R. 1.401(a)-11(b)(2) (emphasis added).

      31.        Treasury regulations concerning disclosures to plan participants similarly provide

that optional benefits, like a QOSA, must be compared to a QJSA using:

                 . . . a single set of interest and mortality assumptions that are reasonable
                 and that are applied uniformly with respect to all such optional forms
                 payable to the participant . . . . For this purpose, the reasonableness of
                 interest and mortality assumptions is determined without regard to the
                 circumstances of the individual participant. In addition, the applicable
                 mortality table and applicable interest rate (as prescribed by the Treasury)
                 are considered reasonable actuarial assumptions for this purpose and thus
                 are permitted (but not required) to be used.

26 C.F.R. 1.417(a)(3)-1(c)(2)(iv)(B)(emphasis added).

       32.       Section 203(a) of ERISA, 29 U.S.C. § 1053(a), provides that an employee’s right

to his or her vested retirement benefits is non-forfeitable. The Treasury regulation for the Tax

Code provision corresponding to ERISA § 203 (26 U.S.C. § 411), states that “adjustments in

excess of reasonable actuarial reductions, can result in rights being forfeitable.” 26 C.F.R. §

1.411(a)-4(a).

                                SUBSTANTIVE ALLEGATIONS

I.     THE PLAN

       33.       Pepsi established the Plan to “provide[] retirement benefits to Participants who

retire or become disabled prior to retirement and, in some circumstances, for the surviving spouses



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or designated beneficiaries of such participants.” See, e.g., Plan Document at Introduction. Pepsi

sponsors the Plan.

       34.       All participants and beneficiaries in the Plan are current and former employees of

Pepsi or one of its subsidiaries or affiliates, spouses of current and former employees, or other

beneficiaries.

       35.       The Plan is an “employee pension benefit plan” within the meaning of ERISA

§ 3(2)(A), 29 U.S.C. § 1002(a)(A).

       36.       The Plan is a defined benefit plan within the meaning of ERISA § 3(35), 29 U.S.C.

§ 1002(35).

       37.       The Plan is administered by Pepsi and the PAC. The PAC has five members

appointed by the EBB, and the Chair of the PAC is Pepsi’s Senior Vice President, Total Rewards.

The EBB members are appointed by the Audit Committee of Pepsi’s Board of Directors.

       38.       Under the terms of the Plan, participants are entitled to receive a monthly pension

that begins at the Normal Retirement Benefit date of age 65. Participants’ monthly pensions are

based on a percentage of their compensation during their highest-paid five (5) consecutive years

of service and how many years they worked for Pepsi.

       39.       The Plan provides that the normal form of retirement benefit for unmarried

participants is a SLA. For married participants, the normal form of benefit, and the Plan’s QJSA,

is a 50% joint and survivor annuity. The Plan further provides that the 50% joint and survivor

annuity form of benefit shall be the actuarial equivalent of a SLA.

       40.       The Plan provides several QOSAs, including joint and survivor annuities that

provide payments to the surviving spouse that are 75% or 100% of the benefit amount payable to

the participant during the joint lives of the participant and the spouse. The Plan also offers “certain




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and life” form of benefits where participants can receive pension benefits for a minimum period

of 120 months. Again, the Plan provides that this elective benefit must be actuarially equivalent

to a SLA.

       41.      The Plan provides a QPSA to a surviving spouse if a vested participant dies before

age 65. The QPSA is the Plan’s QJSA (i.e., a 50% joint and survivor annuity) payable as if the

member had retired on the date of his death.

II.    The Plan’s Optional Forms of Benefit Are Not Actuarially Equivalent to a Single Life
       Annuity.

       42.      Participants in the Plan accrue benefits in the form of a SLA. To convert a SLA

into a QJSA, QOSA or QPSA, the present value of the aggregate (i.e., total) future benefits that

the participant (and, if applicable, the beneficiary) is expected to receive under both the SLA and

the alternative form of benefit must be determined.

       43.      There typically are two main components to calculating the present value of the

SLA and the alternative benefit: an interest rate and a mortality table. An interest rate is used to

determine the present value of each future payment, and the interest rate that a defined benefit plan

uses should be based on prevailing market conditions. A mortality table is a series of rates which

predict how many people at a given age will die before attaining the next higher age. More recent

tables are “two-dimensional” in that the rates are based not only on the age of the individual but

the year of birth. Since the 1980s, the life expectancies in mortality tables have steadily improved.1


1
  The Society of Actuaries, an independent actuarial group, publishes the mortality tables that are
the most widely-used by defined benefit plans when doing these conversions. New mortality tables
were published in 1971, 1983, 1984 (the “UP 1984”), 1994 (the “1994 GAR”), 2000 (the “RP-
2000”) and 2014 (“RP-2014”) to account for changes to a population’s mortality experience. In
the years between the publication of a new mortality table, mortality rates are often “projected” to
future years to account for expected improvements in mortality. For example, the RP-2014
mortality table is commonly projected by actuaries using a mortality improvement scale to account
for additional reductions in mortality rates that have occurred since 2014.


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          44.   The present values of the SLA and the alternative benefit are then compared in a

ratio to create a “conversion factor” (or “annuity factor”) that is applied to the SLA to determine

the amount of the alternative benefit that will be actuarially equivalent to the SLA.

          45.   Contrary to this standard methodology, the Plan does not use reasonable market

interest and mortality rates to create the conversion factor. Rather, the Plan baldly sets a

conversion factor for each alternative benefit. For example, the Plan applies a 0.90 conversion

factor to the SLA to determine the base pension of retirees who select a 50% joint and survivor

annuity; a 0.85 conversion factor for retirees who select a 75% joint and survivor annuity; and a

0.80 conversion factor for retirees who select a 100% joint & survivor annuity.

          46.   Each conversion factor set by the Plan for an alternative benefit is lower than the

conversion factor that would be generated using reasonable market interest rates and mortality

tables.

          47.   Because the Plan throughout the Class Period has used conversion factors that are

lower than would be generated using reasonable market interest and mortality rates, the benefits

paid to Plan participants and beneficiaries who receive payments under either a QJSA, QOSA or

QPSA are not actuarially equivalent to what they would have received if they had selected a single-

life annuity, in violation of ERISA § 205(d)(1)(B), 29 U.S.C. § 1055(d)(1)(B) and ERISA §

205(d)(2)(A), 29 U.S.C. § 1055(d)(2)(A). Using the unreasonably low conversion factor instead

of a conversion factor based on current mortality and interest rates reduces the monthly benefit by

nearly 3% for a 50% joint and survivor annuity and by nearly 8% for a 100% joint and survivor

annuity.

          48.   Plaintiffs are each beneficiaries of the Plan who are receiving a QJSA. Because

their benefits were calculated by using improperly low conversion factors, Plaintiffs are receiving




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less each month than they would if the Plan used current, reasonable actuarial assumptions. They,

along with other class members, have been substantially damaged as a result of receiving benefits

below an actuarially equivalent amount.

       49.       As the Plan does not explain the method by which it sets the conversion factor,

Plaintiffs and Class Members could not in the exercise of reasonable diligence have discovered

that the Plan fails to provide alternative benefits that are actuarially equivalent to single-life

annuities.

                                CLASS ACTION ALLEGATIONS

       50.       Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of themselves and the class (the “Class”) defined as follows:

                 All participants in and beneficiaries of the Plan who elected to
                 receive an optional form of benefits other than a lump sum
                 distribution of a participant’s vested benefit. Excluded from the
                 Class are Defendants and any individuals who are subsequently to
                 be determined to be fiduciaries of the Plan.

       51.       The members of the Class are so numerous that joinder of all members is

impractical. Upon information and belief, the Class includes thousands of persons.

       52.       Plaintiffs’ claims are typical of the claims of the members of the Class because

Plaintiffs’ claims and the claims of all Class members arise out of the same policies and practices

as alleged herein, and all members of the Class are similarly affected by Defendants’ wrongful

conduct.

       53.       There are questions of law and fact common to the Class and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:




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                 A.      Whether the Plan’s method for calculating optional benefits provide

                         benefits that are actuarially equivalent to those that would be paid under a

                         single-life annuity for the plan participant;

                 B.      Whether the Plan’s “conversion factors” are reasonable;

                 C.      Whether the Plan should be reformed to comply with ERISA; and

                 D.      Whether Plaintiffs and Class members should receive additional benefits.

          54.    Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in the prosecution of ERISA class actions. Plaintiffs have no interests

antagonistic to those of other members of the Class. Plaintiffs are committed to the vigorous

prosecution of this action and anticipate no difficulty in the management of this litigation as a class

action.

       55.       This action may be properly certified under either subsection of Rule 23(b)(1).

Class action status is warranted under Rule 23(b)(1)(A) because prosecution of separate actions

by the members of the Class would create a risk of establishing incompatible standards of conduct

for Defendants. Class action status is warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

       56.       In the alternative, certification under Rule 23(b)(2) is warranted because

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.




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       57.       In the alternative, certification under Rule 23(b)(3) is warranted because the

questions of law or fact common to the members of the class predominate over any questions

affecting only individual members, and a class action is superior to other available methods for the

fair and efficient adjudication of the controversy.

                                 FIRST CLAIM FOR RELIEF
                                Declaratory and Equitable Relief
                            (ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3))

        58.      Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint.

        59.      The Plan improperly reduces annuity benefits for participants and beneficiaries who

receive either a QJSA, a QOSA or a QPSA below the benefits that they would receive if those

benefits were actuarially equivalent to a single-life annuity as ERISA requires.

        60.      ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”

        61.      Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal Rule of Civil

Procedure 57, Plaintiffs seek declaratory relief, determining that the Plan’s established

methodologies for calculating actuarial equivalence of QJSAs, QOSAs and QPSAs, including the

joint and survivor annuity and “certain and life” options, violate ERISA because they do not

provide an actuarially equivalent benefit. By not providing an actuarially equivalent benefit,

Defendants have violated ERISA’s anti-forfeiture clause, ERISA § 203(a), 29 U.S.C. § 1053(a).

        62.      Plaintiffs further seek orders from the Court providing a full range of equitable

relief, including but not limited to:




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                (a)     re-calculation, correction and payment of benefits previously paid for

QJSAs, QOSAs and QPSAs;

                (b)     an “accounting” of all prior benefits and payments;

                (c)     a surcharge;

                (d)     disgorgement of amounts wrongfully withheld;

                (e)     disgorgement of profits earned on amounts wrongfully withheld;

                (f)     a constructive trust;

                (g)     an equitable lien;

                (h)     an injunction against further violations; and

                (i)     other relief the Court deems just and proper.

                             SECOND CLAIM FOR RELIEF
      For Reformation of the Plan and Recovery of Benefits Under the Reformed Plan
                (ERISA § 502(a)(1) and (3), 29 U.S.C. § 1132(a)(1) and (3))

        63.     Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint.

        64.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”

        65.     The Plan improperly reduces annuity benefits for participants and beneficiaries who

receive either a QJSA, a QOSA or a QPSA below the benefits that they would receive if those

benefits were actuarially equivalent to a single-life annuity as ERISA requires. By not providing

an actuarially equivalent benefit, Defendants have violated ERISA’s anti-forfeiture clause, ERISA

§ 203(a), 29 U.S.C. § 1053(a).




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       66.     Plaintiffs are entitled to reformation of the Plan to require Defendants to provide

actuarially equivalent benefits.

       67.     ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B), authorizes a participant or

beneficiary to bring a civil action to “recover benefits due to him under the terms of his plan, to

enforce his rights under the terms of the plan, or to clarify his rights to future benefits under the

terms of the plan.”

       68.     Plaintiffs are entitled to recover actuarially equivalent benefits, to enforce their

right to the payment of past and future actuarially equivalent benefits, and to clarify their rights to

future actuarially equivalent benefits, under the Plan following reformation.

                              THIRD CLAIM FOR RELIEF
                                Breach of Fiduciary Duty
               (ERISA §§ 1104 and 502(a)(3), 29 U.S.C. §§ 1104 and 1132(a)(3))

       69.     Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint.

       70.     As the Plan’s administrator, the PAC is a named fiduciary of the Plan.

       71.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

§ 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary

functions. Thus, a person is a fiduciary to the extent “(i) he exercises any discretionary authority

or discretionary control respecting management of such plan or exercises any authority or control

respecting management or disposition of its assets, (ii) he renders investment advice for a fee or

other compensation, direct or indirect, with respect to any moneys or other property of such plan,

or has any authority or responsibility to do so, or (iii) he has any discretionary authority or

discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A), 29 U.S.C.

§ 1002(21)(A). This is a functional test. Neither “named fiduciary” status nor formal delegation is




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required for a finding of fiduciary status, and contractual agreements cannot override finding

fiduciary status when the statutory test is met.

        72.     Defendants are fiduciaries for the Plan because they exercised discretionary

authority or discretionary control respecting management of such plan or exercised any authority

or control respecting management or disposition of Plan assets. The PAC had authority or control

over the amount and payment of benefits paid through QJSAs, QOSAs and QPSAs which were

paid from Plan assets.

        73.     ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), provides that a fiduciary shall

discharge its duties with respect to a plan in accordance with the documents and instruments

governing the plan insofar as the Plan is consistent with ERISA.

        74.     The Plan is not consistent with ERISA because it uses unreasonable conversion

factors that do not provide for actuarially equivalent options which resulted in participants and

beneficiaries illegally forfeiting and losing vested benefits.

        75.     In following the Plan in violation of ERISA, the PAC exercised its fiduciary duties

and control over Plan assets in breach of its fiduciary duties.

        76.     ERISA imposes on fiduciaries that appoint other fiduciaries the duty to monitor the

actions of those appointed fiduciaries to ensure compliance with ERISA. In allowing the PAC to

pay unreasonably low benefits in violation of ERISA, Pepsi and the EBB breached their fiduciary

duties to supervise and monitor the PAC.

        77.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”




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        78.      Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal Rule of Civil

Procedure 57, Plaintiffs seek declaratory relief, determining that the Plan’s established

methodologies for calculating actuarial equivalence of QJSAs, QOSAs and QPSA violate ERISA

because they do not provide an actuarially equivalent benefit.

        79.      Plaintiffs further seek orders from the Court providing a full range of equitable

relief, including but not limited to:

                 (a)    re-calculation, correction and payment of benefits previously paid for

QJSAs, QOSAs and QPSAs;

                 (b)    an “accounting” of all prior benefits and payments;

                 (c)    a surcharge;

                 (d)    disgorgement of amounts wrongfully withheld;

                 (e)    disgorgement of profits earned on amounts wrongfully withheld;

                 (f)    a constructive trust;

                 (g)    an equitable lien;

                 (h)    an injunction against further violations; and

                 (i)    other relief the Court deems just and proper.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all claims

and requests that the Court award the following relief:

        A.       Certifying this action as a class pursuant to FED. R. CIV. P. 23;

        B.       Declaring that the Plan fails to properly calculate and pay QJSAs, QOSAs and

QPSAs that are actuarially equivalent to single-life annuities, in violation of ERISA §

205(d)(1)(B), 29 U.S.C. § 1055(d)(1)(B) and ERISA § 205(d)(2)(A), 29 U.S.C. § 1055(d)(2)(A);




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       C.       Ordering Defendants to bring the Plan into compliance with ERISA, including, but

not limited to, reforming the Plan to bring it into compliance with ERISA with respect to

calculation of actuarially equivalent QJSAs, QOSAs and QPSAs;

       D.       Ordering Defendants to correct and recalculate benefits that have been paid;

       E.       Ordering Defendants to provide an “accounting” of all prior payments of benefits

under the Plan to determine the proper amounts that should have been paid;

       F.       Ordering Pepsi to pay all benefits improperly withheld, including under the theories

of surcharge and disgorgement;

       G.       Ordering Pepsi to disgorge any profits earned on amounts improperly withheld;

       H.       Imposition of a constructive trust;

       I.       Imposition of an equitable lien;

       J.       Reformation of the Plan;

       K.       Ordering Defendants to pay future benefits in accordance with ERISA’s actuarial

equivalence requirements;

       L.       Ordering Defendants to pay future benefits in accordance with the terms of the Plan,

as reformed;

       M.       Awarding, declaring, or otherwise providing Plaintiffs and the Class all relief under

ERISA § 502(a), 29 U.S.C. § 1132(a), or any other applicable law, that the Court deems proper;

       N.       Awarding attorneys’ fees and expenses as provided by the common fund doctrine,

ERISA § 502(g), 29 U.S.C. § 1132(g), and/or other applicable doctrine; and

       O.       Any other relief the Court determines is just and proper.




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Dated: December 12, 2018               Respectfully submitted,

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